      Case 1:21-cr-00048-JRH-BKE Document 66 Filed 07/26/22 Page 1 of 2




                     UNITED STATES DISTRICT COURT
                     SOUTHERN DISTRICT OF GEORGIA
                           AUGUSTA DIVISION

UNITED STATES OF AMERICA                )     CASE NO: 1:21-CR-048
                                        )
v.                                      )
                                        )
SAMMIE LEE SIAS                         )

             GOVERNMENT’S CERTIFICATE OF DISCLOSURE

      Now comes the United States of America, by and through David H. Estes,

United States Attorney for the Southern District of Georgia, and states that

additional discovery, as listed on the attached Index of Discovery (see Exhibit A),

were made available to defense counsel via USAfx on July 26, 2022.

                                        Respectfully submitted,

                                        DAVID H. ESTES
                                        UNITED STATES ATTORNEY

                                        s/ Tara M. Lyons
                                        Tara M. Lyons
                                        Assistant United States Attorney
                                        Deputy Chief, Criminal Division
                                        South Carolina Bar No. 16573

                                        s/ Patricia Green Rhodes
                                        Patricia Green Rhodes
                                        Branch Office Chief
                                        Deputy Chief, Criminal Division
      Case 1:21-cr-00048-JRH-BKE Document 66 Filed 07/26/22 Page 2 of 2




                       UNITED STATES DISTRICT COURT
                       SOUTHERN DISTRICT OF GEORGIA
                             AUGUSTA DIVISION

UNITED STATES OF AMERICA                     )     CASE NO: 1:21-CR-048
                                             )
v.                                           )
                                             )
SAMMIE LEE SIAS                              )

              CERTIFICATE OF SERVICE FOR GOVERNMENT’S
                     CERTIFICATE OF DISCLOSURE

       This is to certify that I have on this day served all the parties in this case in

accordance with the notice of electronic filing (“NEF”) which was generated as a

result of electronic filing in this Court.

       This 26th day of July, 2022.

                                             DAVID H. ESTES
                                             UNITED STATES ATTORNEY

                                             s/ Tara M. Lyons
                                             Tara M. Lyons
                                             Assistant United States Attorney
                                             Deputy Chief, Criminal Division
                                             South Carolina Bar No. 16573

Post Office Box 2017
Augusta, Ga. 30903
Telephone Number: (706) 826-4532
